          Case 2:12-cr-00088-WFN               ECF No. 75                filed 08/31/12                PageID.115 Page 1 of 1

«a.PS8
(12/04)


                             United States District Court
                                                                      for

                                             Eastern District of Washington



 U.S.A. vs.               John Lawrence Frehner                                       Docket No.               2:12CR00088-001




                               Petition for Action on Conditions of Pretrial Release

       COMES NOW, Erik Carlson, PRETRIAL SERVICES OFFICER, presenting an official report upon the conduct of
defendant, John Lawrence Frehner, who was placed under pretrial release supervision by the Honorable Cynthia Imbrogno
sitting in the Courtat Spokane, WA, on the 13th day of August 2012, under the following conditions:

District of Utah Condition #7(0: The defendant shall refrain from any use or unlawful possession of a narcotic drug
and other controlled substances defined in 21 U.S.C. § 802 unless prescribed by a licensed medical practitioner.

          RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:
                                    (If short insert here; if lengthy write on separate sheet and attach.)


Violation #1: The defendant admitted that he ingested marijuana and methadone without a valid prescription.

                           PRAYING THAT THE COURT WILL ORDER A SUMMONS


                                                                                         I declare under penalty of perjury that
                                                                                         the foregoing is true and correct.

                                                                                         Executed on:        08/31/2012

                                                                                by       s/Erik Carlson

                                                                                         Erik Carlson
                                                                                         U.S. Probation Officer




 THE COURT ORDERS


 [ ]       No Action
 ! |       The Issuance of a Warrant
 [ v\      The Issuance of a Summons
 [ ]       Other


                                                                                            Signature of Judicial Officer



                                                                                            Date
